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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 WAG SPV I, LLC, AND HARK CAPITAL I,
 LP,

        Plaintiffs,

 v.
                                                              NO. ____________
 FORTUNE GLOBAL SHIPPING &
                                                                 ADMIRALTY
 LOGISTICS (USA), INC., FORTUNE
 GLOBAL SHIPPING & LOGISTICS,
 LTD., AND ERIC OPAH,

        Defendants.


                                Plaintiffs’ Original Complaint

       Plaintiffs WAG SPV I, LLC and Hark Capital I, LP, file this Original Complaint against

Defendants Fortune Global Shipping & Logistics (USA), Inc., Fortune Global Shipping &

Logistics, Ltd., and Eric Opah in personam, and in support therefore show as follows:

                                            Parties

       1.      Plaintiff WAG SPV I, LLC (“WAG”) is a Texas limited liability company with its

principal place of business in Dallas, Texas. WAG is the sole owner of the heavy lift pipe laying

vessel SEA HORIZON (“SEA HORIZON”). Exhibit 1, Certificate of Ownership and

Encumbrance.

       2.      Plaintiff Hark Capital I, LP (“Hark Capital”) is a limited partnership formed in

Delaware with its principal place of business at 600 Lexington Avenue, Suite 1401, New York,

NY.

       3.      Defendant Fortune Global Shipping & Logistics (USA), Inc. (“Fortune USA”) is

a Texas Corporation with its principal office located at 16800 Imperial Valley Drive, Suite 382,
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Houston, Texas, 77060. Fortune Global can be served with process through its Registered Agent,

Gary W. Duggar, 1177 Enclave Parkway, Suite 250, Houston, Texas, 77077. Upon information

and belief, Fortune USA is the U.S. office of Fortune Global Shipping & Logistics Ltd.

       4.         Defendant Fortune Global Shipping & Logistics Ltd. (“Fortune Global”) is a

Nigerian company with its principal place of business at 15, Fatai Irawo Street, Ajao Estate, Lagos

State, Nigeria.

       5.         Eric Opah (“Opah”) is the President/CEO, Director and founder of Fortune USA

and Fortune Global. Upon information and belief, Opah resides at 7915 Pine Heath Ct., Humble,

Texas 77396, located within this District.

       6.         Upon information, Opah utilized Fortune Global and Fortune USA to deprive

Plaintiff WAG of its rightful possession of SEA HORIZON.

                                       Jurisdiction and Venue

       7.         This Court has jurisdiction pursuant to 28 U.S.C. §1333 because this is an admiralty

or maritime claim brought within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure

and Rule D of the Supplemental Rules for Admiralty or Maritime Claims.

       8.         Specifically, Plaintiffs bring this possessory and petitory action against Defendants

in personam pursuant to Federal Rule of Civil Procedure Supplemental Admiralty Rule D

(“Rule D”) to resolve the issue of title and the right to possession as between WAG, the owner of

SEA HORIZON, and Defendants who, despite having not provided any goods or services to WAG

or SEA HORIZON, claim to have a lien over SEA HORIZON and have arrested and refused to

release SEA HORIZON since September 2018.

       9.         Venue is proper in the Houston Division of this District because Opah and Fortune

USA are subject to personal jurisdiction in this District and Division, and Opah, Fortune Global

and Fortune USA should be treated as a single entity for purposes of this action.


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                                      Factual Background

       10.     On or about November 1, 2016, Plaintiff Hark Capital (formerly Enhanced Credit

Supported Loan Fund, LP), entered into an agreement (as amended, the “Loan Agreement”) with

Plaintiff WAG, whereby Hark Capital loaned WAG $14,000,000.00 (the “Loan”) for the purchase

of a barge or similar vessel.

       11.     On November 22, 2016, WAG purchased the Panamanian-flagged heavy lift pipe

laying vessel SEA HORIZON.

       12.     Thereafter, on November 2, 2018, as part of and in furtherance of the terms of the

Loan Agreement, WAG delivered in favor of Hark Capital a first preferred mortgage over SEA

HORIZON as security for WAG’s performance and compliance with the terms of the Loan

Agreement. See Exhibit 2, Mortgage. The Mortgage is, and remains, in full force and effect until

such time as WAG repays to Hark Capital the full amount of the Loan.

Ghana Proceedings

       13.     On or about September 18, 2018, Defendant Fortune Global, a Nigerian

[subsidiary/affiliate/parent] of Defendant Fortune USA, filed an ex parte application for the arrest

and detention of SEA HORIZON in the Republic of Ghana. Exhibit 3, Application for Arrest and

Detention.

       14.     At all times relevant to its claims, Fortune Global was engaged by Ranger Subsea

Nigeria Limited (“Ranger Subsea”) to assist Ranger Subsea in connection with Ranger Subsea’s

diving and marine construction services. Ranger Subsea is a Nigerian company, operating out of

Houston, Texas.

       15.     Ranger Subsea engaged Fortune Global via a Master Service Agreement (“MSA”)

dated August 20, 2014. The MSA provided that Fortune Global was to “perform work and/or

provide services, equipment machinery, material or supplies” to Ranger Subsea.


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       16.     The MSA makes no reference to WAG or SEA HORIZON, nor was any of the

work performed by Fortune Global provided to or for the benefit of WAG or SEA HORIZON.

Ranger Subsea never contracted with Fortune Global on behalf of WAG, and never claimed to

have done so. Indeed, the MSA pre-dated WAG’s purchase of SEA HORIZON by several years.

       17.     Ranger Subsea is purportedly indebted to—but has not paid—Fortune Global

approximately $1.9 million for these services.

       18.     In an attempt to recover the alleged amounts due, Fortune Global filed claims

jointly and severally against not only Ranger Subsea, but also WAG, SEA HORIZON, and others

whom Fortune Global wrongly contends are joint owners of SEA HORIZON, and therefore liable

for the unpaid amounts due to Fortune Global. As security for its claims, Fortune Global filed a

Writ of Summons for the arrest and detention of SEA HORIZON.

       19.     Just two days after Fortune Global filed its application, the Ghana Court granted

the Writ of Summons by Order dated September 20, 2018, ordering the arrest and detention of

SEA HORIZON lying at the Naval Base located in Sekondi, Ghana.

       20.     WAG filed an application to set aside the Writ of Summons and Statement of Claim

against it and SEA HORIZON, based on WAG’s and SEA HORIZON’s total lack of dealings,

contractual or otherwise, with Fortune Global.

       21.     Indeed, Fortune Global attached to its application invoices purportedly

substantiating its claim totaling approximately $4 million. None are addressed to, or refer to, WAG

or SEA HORIZON. Moreover, all invoices mention vessels other than SEA HORIZON as the

recipient of services and supplies from Fortune Global. Despite the total lack of any allegations in

the Writ and Summons to support the arrest or claim, the Ghana Court dismissed WAG’s

application to vacate the arrest on October 22, 2018.




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       22.     The Ghana Court ruled that, despite the presentation of the certified, apostilled and

translated Certificate of Ownership and Encumbrance from the Panamanian Registry, identifying

WAG as the sole owner of SEA HORIZON, the Court could not determine ownership because the

apostille stamps on the last page were not translated. The Ghana Court did not give WAG the

opportunity to provide a translation of the apostille stamps before ruling in favor of Fortune Global.

       23.     Fortune Global has now filed a motion for the appraisal and sale of SEA

HORIZON.

Plaintiffs Harmed

       24.     The SEA HORIZON has been detailed in Ghana since September 2018 based upon

the untrue claims and statements of Opah, Fortune Global and Fortune USA. During this period,

WAG has been unable to employ or charter SEA HORIZON thereby losing approximately $20,000

per day, thereby losing more than $3.6 million in income. In addition, SEA HORIZON has

incurred additional port fees and other expenses as a result of the detention, totaling more than

$500,000.

       25.     There is no contractual relationship between WAG or SEA HORIZON, and Fortune

Global. Thus, there can be no liability running from WAG or SEA HORIZON to Fortune Global.

       26.     The claims filed by Fortune Global, and the resulting arrest and detainment of SEA

HORIZON, are unfounded and factually insupportable.

       27.     Upon information and belief, Fortune USA and Fortune Global operate as alter

egos. Fortune USA and Fortune Global have common ownership, and common directors/officers.

       28.     Upon information and belief, Opah was and remains the President, CEO and

Director of Fortune USA and Fortune Global.




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       29.     Upon information and belief, Fortune USA was formed to carry out the business of

Fortune Global.

       30.     Upon information and belief, Opah created and operated Fortune USA, a Texas

entity, to carry out Fortune Global’s business, and to deprive WAG, another Texas entity, of its

possession of SEA HORIZON by wrongfully causing its arrest and detention in Ghana.

       31.     Accordingly, Plaintiffs herein seek the assistance of this Court in declaring the

ownership of, and right to possess, SEA HORIZON and, should the Court deem that Defendants

have any rights to SEA HORIZON, including the right to possess SEA HORIZON, Plaintiffs seek

a declaration of the Plaintiffs’ rights to SEA HORIZON’s upkeep while it is detained.

                                      First Cause of Action:
                                     Possessory and Petitory

       32.     Plaintiffs repeat and incorporate all prior paragraphs as is set forth fully herein.

       33.     WAG is the sole owner of SEA HORIZON and has superior title to SEA

HORIZON and superior rights of possession, custody, control use and enjoyment of SEA

HORIZON.

       34.     In Ghana, Defendants assert a right to possess SEA HORIZON, depriving WAG of

its rights as owner. Further, Defendants’ claims cloud title to SEA HORIZON, and prevents

Plaintiff WAG from conveying clear title to a purchaser.

       35.     As a direct and proximate result of Defendants’ arrest of SEA HORIZON,

Defendants have deprived Plaintiffs of their possession, custody, control, use and enjoyment of

SEA HORIZON.

       36.     Defendants’ wrongful actions have harmed Plaintiffs, resulting in damages of not

less than $4.2 million.




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        37.     Plaintiffs respectfully request this Court issue a declaratory judgment pursuant to

Rule D declaring that WAG is the owner of, and has the right to possess, SEA HORIZON, and a

judgment in the amount of at least $4.2 million, together with interest, costs and attorneys’ fees.

                                       Second Cause of Action:
                                        Declaratory Judgment

        38.     Plaintiffs repeat and incorporate all prior paragraphs as is set forth fully herein.

        39.     Specifically, Plaintiffs seek a declaration that Defendants, operating as a single

entity, wrongfully caused the arrest of SEA HORIZON in Ghana.

        40.     Defendants had and have no right, contractual or otherwise, to bring any claim

against SEA HORIZON. Further, Defendants have no right, contractual or otherwise, to bring any

claim against WAG. Thus no in rem claim may be properly maintained against SEA HORIZON,

and no in personam claim can be properly maintained against WAG, as owner of SEA HORIZON.

        41.     Further, pursuant to the terms of the Mortgage and Loan Agreement, Hark Capital

may take any action it deems necessary to protect or maintain the preferential security created

thereunder. Hark Capital was not provided notice of the arrest of the vessel. Thus Plaintiffs also

seek a declaration from this Court that Hark Capital’s rights, as lienholder, have been directly

compromised by Defendants’ illegal seizure of SEA HORIZON, in direct contravention of Hark

Capital’s rights under the Mortgage and Loan Agreement.

                                           Attorneys’ Fees

        42.     Plaintiffs also ask the Court to award reasonable and necessary attorneys’ fees and

costs in this lawsuit to Plaintiffs.

                                               Prayer

        For the foregoing reasons, Plaintiffs WAG SPV I, LLC and Hark Capital I, LP request that

Defendants Fortune Global Fortune Shipping & Logistics (USA), Inc., Fortune Global Fortune



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Shipping & Logistics Ltd., and Eric Opah be duly cited to appear and answer herein, and that this

Court enter judgment in favor of Plaintiffs:

       •   declaring Plaintiff is the owner of SEA HORIZON and is entitled to take possession of

           SEA HORIZON;

       •   declaring that Defendants caused SEA HORIZON to be improperly seized, arrested

           and detained; alternatively,

       •   awarding Plaintiffs at least $4.2 million in damages for the wrongful detention of SEA

           HORIZON.

       Plaintiffs further ask the Court to enter and award of Plaintiffs reasonable and necessary

attorneys’ fees and costs and such other and further relief to which they may be entitled.

                                                     Respectfully Submitted,

                                                     Meade & Neese LLP

                                                     /s/ Andrew K. Meade

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